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     (415) 421-7980
3

4    Attorney for Defendant Antoine Demetrius Smith

5                                              )
                                               )     CR NO. 06-00189 SBA
6    UNITED STATES OF AMERICA                  )
                                               )   [Proposed]
7                 Plaintiffs,                  )
                                               )   ORDER APPOINTING CJA
8          vs.                                 )   COUNSEL
                                               )
9    ANTOINE DEMETRIUS SMITHl,                 )
                                               )
10                Defendant.                   )
                                               )
11

12         Based on the financial affidavit signed by Defendant Antoine Demetrius Smith on

13   April 24, 2006 it is hereby ordered that Alan Dressler, Esq. is appointed pursuant to the

14   Criminal Justice Act as counsel for defendant Antoine Demetrius Smith. This order is nunc
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15   pro tunc as of March 28, 2006.
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17   Dated: July 21, 2006
                                                           I S S O
                                                        IT D. Brazil
                                                     Wayne


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18                                                   U.S. Magistrate Judge
                                                                                 Brazil
                                                                         ayne D.
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19
                                                                 Judge W
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